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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re Terrorist Attacks on September 11,2001 |03 MDL 1570 (GBD)(SN)
ECF Case

This document relates to:
Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
Bauer et al. v. al Qaeda Islamic Army, et al.,, 02-cv-7236 (GBD)(SN)
Ashton et al. v. Kingdom of Saudi Arabia, \7-cv-2003 (GBD)\(SN)
CONSENT STIPULATION

On November 26, 2019, a conference was held before the Honorable Magistrate Judge
Sarah Netburn to address issues related to the Motions to Substitute Counsel filed on September
20, 2019 by Patricia Ryan, Individually and as Personal Representative of the Estate of John J.
Ryan, Deceased, Kristen Ryan, Laura Ryan, and Colin Ryan (the “Ryan Plaintiffs”)(ECF No.
5164) and Katherine Maher, Individually and as Personal Representative of the Estate of Daniel
L. Maher, Deceased, Daniel R. Maher and Joseph F. Maher (the “Maher Plaintiffs”)(ECF No.
5165), parties in the Ashton action arising out of the September 11, 2001 terror attacks.

Baumeister & Samuels, P.C. partially opposed the motions (ECF No. 5169, 5171) by
consenting to the substitution of counsel and requesting the removal of the Ryan and Maher
Plaintiffs claims from the Ashton action, and the issuance of a charging lien for the firm’s fees
and unreimbursed expenses against any future recovery. With the consent of Baumeister &
Samuels, P.C., the Court issued an Order on November 26, 2019 (ECF No. 5312) granting the
Ryan and Maher Plaintiffs’ motions to substitute counsel, without prejudice to Baumeister &

Samuels’ request that the Court issue a charging lien.
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THE PARTIES NOW CONSENT, STIPULATE AND AGREE as follows:

1. The Ryan and Maher Plaintiffs hereby withdraw their opposition to a charging
lien for professional services rendered by Baumeister & Samuels, P.C., and consent to the
issuance of such a charging lien in an amount and a method to be determined in the future for a
donation by Baumeister & Samuels, P.C. to the September 11 National Memorial Museum in the
names of John J. Ryan and Daniel L. Maher.

2. The Ryan and Maher Plaintiffs and Baumeister & Samuels, P.C. agree to
withdraw the statements and responses contained in their respective submissions dated October
10, 2019 (ECF No. 5202) and October 18, 2019 (ECF No. 5219), and all parties reserve their
rights.

3. The parties further agree that the charging lien dispute has been resolved.

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Personal Representative of the Estate

Katherine Maher, Individually and as
Personal Representative of the Estate

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Laura Ryan

Colin Ryan

Kristen Ryan

Michel F. Baumeister

Daniel L. Maher, Deceased

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So Ordered:

Honorable Sarah Netburn
